Case 2:19-cV-02084-ODW-KS Document 8 Filed 03/20/19 Page 1 of 2 Page |D #:23

AO 440 [Re\;. 06-"12) Summons in a Civil Action

 

UNITED STATES DISTRlCT COURT

for the

Ccntral Distriet of Califomia

ANDREW D. FOX and R|LEY N. COTTA,

 

Plo."n.‘§§t”(s)

v. Civil Action No. 2119-0\"'02034 -ODW-KS

COLLECTO, |NC. dfb!a EOS CCA,

 

Dcy?zndanf(s)

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SUMMONS IN A CIVIL ACTION

T(Jf (Defendom '.s name and addre.ss) CO]|BCtO, lnC. d."'b!a EOS CCA
e.fo Registered Agent
C T Corporation System
818 West Seventh Street, Suite 930
LoS Ange|es, CA 90017

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States ageney, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedurc. The answer or motion must be served on the plaintiff or plaintiff’s attomcy,
whose name and address are: Nicho|as |V|. Wajda

Wajda Law Group, APC
11400 West O|ympic Bou|evard, Suite ZOO|VI
LoS Ange|es, CA 90064

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

 

 

 

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Civil Action No. 2119-Cv-02084

PROOF OF SERVICE
(This section should not befiieo' with the court unless required by Fed. R. Civ. P. 4 (i))

Tl'liS Summol‘lS for (noine of individual and rifle, D‘ar.'}§l

 

was received by me on (dare)

 

[:l I personally served the summons on the individual at (pface)

 

Ol'l (o'o.'e) § 01'

 

[:l I left the summons at the individual’s residence or usual place of abode with (m.'me,l

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

l:l I served the summons on (name ofmdrvrdoal) , who is

 

designated by law to accept service of process on behalf of monte aforgam'zan'on)

 

 

 

on (dme) ; or
[:l I returned the summons unexecuted because § 01'
ij th€l' (spec{fv):
My fees are $ for travel and $ for services, for a total of $ 0,00

I declare under penalty of perjury that this information is truc.

Date:

 

Server ’.s' signature

 

Prinfed name and title

 

Server ’s address

Additional information regarding attempted service, etc:

